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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                      No. 1:16-cv-08637


This Document Relates To:                       Honorable Thomas M. Durkin
                                                Magistrate Judge Jeffrey T. Gilbert
All End-User Consumer Plaintiff Actions




               STIPULATION AND [PROPOSED] ORDER REGARDING
         END-USER CONSUMER PLAINTIFFS’ FIFTH AMENDED COMPLAINT




010636-11/1355143 V1
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       The parties in the above-captioned cases, through their respective counsel of record,

stipulate to the following regarding End-User Consumer Plaintiffs’ (EUCPs) Fifth Amended

Consolidated Class Action Complaint, subject to approval by the Court.

       1.      The End-User Consumer Plaintiffs’ Fifth Amended Consolidated Class Action

Complaint, filed on August 7, 2020, ECF No. 3748 is the operative Complaint, in this matter, for

all purposes, without need of the EUCP refiling the same.

       2.      Defendants need not file an Answer to Plaintiffs’ Fifth Amended Consolidated

Class Action Complaint at this time, so long as Defendants file their Answer before moving for

summary judgment.

       3.      Defendants shall file a consolidated Answer to Plaintiffs’ Fifth Amended

Consolidated Class Action Complaint, rather than filing separate Answers. See ECF No. 3835 at

10. The consolidated Answer will make clear which specific Defendants are raising each

affirmative defense.

       4.      The parties agree to comply with this Stipulation pending the Court’s approval.

       IT IS SO ORDERED:



DATED: ________________


                                            HONORABLE THOMAS M. DURKIN
                                            UNITED STATES DISTRICT JUDGE




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Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on October 16, 2020, a true and

correct copy of the foregoing was electronically filed by CM/ECF, which caused notice to be

sent to all counsel of record.

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